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EXHIBIT 1

SEC’s Response to Alpine’S First Set of

Requests for Production of Documents

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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRICT OF NEW YORK

 

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coMMIssloN,
civil No. 1:17-Cv-04179-DLC
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ALPrNE sEcUle-:s coRPoRA'rtoN, TO ALPINE SECURITFES
CoRPoRATIoN’s Fle'r sET
Defendant. OF REQUESTS FOR
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Plaintifi`, United States Securities and Exchange Commission (“Commission”), pursuant to
Rules 26 and 34 of the Federal Rules of Civil Procedure, hereby objects and responds to Defendant
Alpine Securities Corporation’s (“Defendant” or “Alpine”) First Set of Requests for Production of
Documents propounded on October 20, 2017, as follows:

GENERAL OBJECTIONS

 

l. The Commission objects to all lnstructions, Deiinitions, and Requests in Defendant
Alpine’s First Set of Requests for Production of Documents (“Requests”) that purport to impose
burdens or obligations on the Commission beyond those authorized or permitted by the Federal
Rules of Civil Procedure, the Local Rules of this Court, Judge Cote's Individuai Practices in Civil
Cases, or rulings and orders entered in this case.

2. The Comrnission objects to Alpine’s Def'mitions Nos. 2-8 of the “SEC” (“You,”
“Your," “PlaintiH",” and “SEC”), “FinCEN,” “FINRA,” and “SAR,” as overbroad, unduly
burdensome, vague, and ambiguous

3. The Commission further objects to the proffered definitions to the extent they

purport to define any word or phrase as having other than its ordinary meaning.

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4. The Commission objects to each interrogatory to the extent it requests information
protected by attorney-client privilege, work product doctrine, law enforcement privilege,
investigative privilege, or other applicable privilege or protection against disclosure. Any
inadvertent production of any information protected from disclosure by the attorney-client
privilege, the work product doctrine, law enforcement privilege, or any other applicable privilege
or protection is not intended to be and shall not be (i) a waiver of such privilege and/or protection
in whole or in part; or (ii) a waiver of the right to object to any use of the information contained
therein in this or any other proceeding.

5. The Commission objects to the Requests to the extent they seek information that is
not in the possession, custody, or control of the Commission.

6. The Commission does not waive any objections by providing a specific response or
by raising additional objections to any specific Request.

7. The Commission objects to Requests that seek discovery solely related to the
improper equitable defenses that should be stricken for the reasons set forth in the Commission's
Motion to Strike Aftirmative Defenses (Doc Nos. 54-55, “Motion to Strike").

8. The Commission objects to the Requests because they seek an overwhelming
amount of documents that are either irrelevant to this action or already in the possession of Alpine.
This is a books and records action that concerns almost exclusively Alpine’s records. Alpine has
copies of these records. Records generated by the Commission during its investigation are not
relevant and protected by one or more privileges. Records generated by third parties are largely not
relevant and the records that are relevant are already in Alpine’s possession, namely
correspondence from FINRA advising Alpine about its deficient tilings. These records are relevant
to show their effect on Alpine-the underlying analysis and work to prepare the correspondence

are not relevant to Alpine’s compliance with the Bank Secrecy Act and, in any event, should be
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requested directly from those third parties. In short, there are very few records that are arguably
relevant to the claims in this case that Alpine does not already have in its possession, The scope of
the Requests is not proportionate to Alpine’s genuine needs in this case.

9. The Commission objects to the time stated for production as being unreasonable and
not proportional to the needs of the case. The requested documents are voluminous and will require
additional time for removal or redaction of privileged information or information otherwise
protected by law from disclosure. Accordingly, the Commission will produce non-privileged
documents responsive to the Requests, as described herein, on a rolling basis.

10. These General Objections and the Responses below are based upon information
now available to the Commission. The Commission reserves the right to supplement, amend,

correct, and/or clarify its responses and objections.

BEQUE§IS.ESB£RQDJHLQN_QEMMENIS
BEQJ.LE§]‘_NQ,_L: Produce all documents identified in, and used to compile, Table A.

To the extent that some or all of the documents responsive to this request have been previously

produced in this Action, please identify the SEC’s Bates Numbers from the previous production

 

identifying the documents listed on Table A, and/or other responsive documents.

Response. Subject to the General Objections, the Commission states that this request seeks
copies of Alpine’s own records and, in any event, the Commission has already provided the
documents responsive to this request by sending copies of these materials back to Alpine. Alpine
labeled these documents with its own set of bates numbers, which are listed in Table A and appear
on the copies sent back to Alpine. Alpine can identify documents with these numbers and has
already done so. The Commission does not have the burden to identify the documents a second
time with a new set ofnumbers, but has done so. These numbers can be found in the metadata of

each file produced by the Commission in this litigation. Alpine is encouraged to contact the
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undersigned with any technical questions regarding access to the identifying numbers in the
metadata.

RM§I_N_Q,_Z: Produce all documents identified in, and used to compile, Table
B, including but not limited to any transaction report, blotter, or trading report reviewed or used in
preparing Table B. To the extent that some or all of the documents responsive to this request have

been previously produced in this Action, please identify the SEC’s Bates Numbers from the

 

previous production identifying the documents listed on Table B, and/or other responsive
documents.

Response. Subject to the General Objections, the Commission states that this request
seeks copies ofAlpine’s own records and, in any event, the Commission has already provided the
documents responsive to this request by sending copies of these materials back to Alpine. The
Commission reproduced Alpine’s blotter information used to generate Table B in response to an
informal request by Alpine in native fonnat, see ALPINE_SUPP_PROD__SEC 00038251.xlsx and
ALPINE__SUPP_PROD_SEC 00038252.xlsx.

REQ_QESI_NQ,§: Produce all documents identified in, and used to compile, Table C.
To the extent that some or all of the documents responsive to this request have been previously
produced in this Action, please identify the §E§ls_l_?_§j_e§_liu_mh_em from the previous production
identifying the documents listed on Table C, and/or other responsive documents

Response. Subject to the General Objections, the Commission states that this request seeks
copies ofAlpine’s own records and, in any event, the Commission has already provided the
documents responsive to this request by sending copies of these materials back to Alpine. Alpine
labeled these documents with its own set of bates numbers, which are listed in Table C and appear
on the copies sent back to Alpine. Alpine can identify documents with these numbers and has

already done so. The Commission does not have the burden to identify the documents a second
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time with a new set of numbers, but has done so. These numbers can be found in the metadata of
each file produced by the Commission in this litigation. Alpine is encouraged to contact the
undersigned with any technical questions regarding access to the identifying numbers in the
metadata.

REQ\E§]‘_N_QA: Produce all documents identified in, and used to compile, Table D.
To the extent that some or all of the documents responsive to this request have been previously
produced in this Action, please identify the m from the previous production
identifying the documents listed on Table D, and/or other responsive documents.

Response. Subject to the General Objections, the Commission states that this request seeks
copies of Alpine’s own records and, in any event, the Commission has already provided the
documents responsive to this request by sending copies of these materials back to Alpine. Alpine
labeled these documents with its own set of bates numbers, which are listed in Table D and appear
on the copies sent back to Alpine. Alpine can identify documents with these numbers and has
already done so. The Commission does not have the burden to identify the documents a second
time with a new set of numbers, but has done so. These numbers can be found in the metadata of
each file produced by the Commission in this litigation. Alpine is encouraged to contact the
undersigned with any technical questions regarding access to the identifying numbers in the
metadata.

B_E§H,ZE§_T_NQ,_§: Produce all documents identified in, and used to compile, Table E.
To the extent that some or all of the documents responsive to this request have been previously
produced in this Action, please identify the mm from the previous production
identifying the documents listed on Table E, and/or other responsive documents.

Response. Subject to the General Objections, the Commission states that this request seeks

copies of Alpine’s own records and, in any event, the Commission has already provided the
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documents responsive to this request by sending copies of these materials back to Alpine. Alpine
labeled these documents with its own set of bates numbers, which are listed in Table E and appear
on the copies sent back to Alpine. Alpine can identify documents with these numbers and has
already done so. The Commission does not have the burden to identify the documents a second
time with a new set of numbers, but has done so. These numbers can be found in the metadata of
each file produced by the Commission in this litigation. Alpine is encouraged to contact the
undersigned with any technical questions regarding access to the identifying numbers in the
metadata.

ME§_T_HQ,_§: Produce all documents identified in, and used to compile, Table F.
To the extent that some or all of the documents responsive to this request have been previously
produced in this Action, please identify the mg from the previous production
identifying the documents listed on Table F, and/or other responsive documents

Response. Subject to the General Objections, the Commission states that this request seeks
copies of Alpine’s own records and, in any event, the Commission has already provided the
documents responsive to this request by sending copies of these materials back to Alpine. Alpine
labeled these documents with its own set of bates numbers, which are listed in Table F and appear
on the copies sent back to Alpine. Alpine can identify documents with these numbers and has
already done so. The Commission does not have the burden to identify the documents a second
time with a new set ofnumbers, but has done so. These numbers can be found in the metadata of
each file produced by the Commission in this litigation. Alpine is encouraged to contact the
undersigned with any technical questions regarding access to the identifying numbers in the
metadata.

BEQQE§_T_NQ,_Z: Produce any and all documents, including but not limited to

communications, notes, memoranda, statements, affidavits and/or declarations, regarding or
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relating to an Interviewee.

Response. ln addition to the General Objections, the Commission objects to this
interrogatory as it purports to require the Commission to disclose information protected from
disclosure by the work-product doctrine and the law enforcement privilege. The identity of
witnesses that attorneys for the Commission decided to interview during its investigation is
protected by the work-product doctrine, as are the notes and memoranda generated by attorneys for
the Commission in connection with the interviews. Additionally, the identity of such witnesses and
the identity of law enforcement personnel/agencies in attendance at such interviews, if applicable,
is information protected by the law enforcement privilege which protects, among other things,
disclosure of law enforcement techniques and procedures, safeguards the privacy of individuals
involved in an investigation, and otherwise prevents interference with an investigation. See, e,g., In
re Depar!ment ofInvestigation ofCity afNew York, 856 F.2d 481, 484 (Zd Cir. 1988) (“The
purpose of this privilege is to prevent disclosure of law enforcement techniques and procedures, to
preserve the confidentiality of sources, to protect witness and law enforcement personnel, to
safeguard the privacy of individuals involved in an investigation, and otherwise to prevent
interference with an investigation.”). Disclosure of the notes and memoranda generated by
Commission attorneys in connection with its investigation would disclose law enforcement
techniques and procedures. Additionally, the request is not proportional to the needs of the case
when taking into account the irrelevance of such information.

Subject to these objections and the General Objections and privileges asserted in the
Commission's privilege log dated November 28, 2017, and pursuant to Local Rule 26.2(c), the
Commission states that its attorneys created a group of notes and memoranda responsive to this
request at or about the time of each interview. The 23 interviews for which the Commission

created records responsive to this request occurred between September 4, 2015 and November 17,

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2016. Consistent with the Commission’s objection to Alpine’s lnterrogatory No. 12, disclosure of
the lnterviewees would disclose privileged information as would the author of the responsive notes
and memoranda. lt is sufficient for purposes of this claim for privilege to identify the author(s) as
Commission attorneys working on the investigation. The sufficiency of the privilege claim does
not turn on the particular identity orjob title of the authors because each of the authors are
Commission attorneys or personnel working at their direction. S.E.C. v. Cavanagh, 1998 WL
132842, at *2 (S.D.N.Y. Mar. 23, 1998) (“[N]otes . . . taken by SEC attorneys during interviews
that, although they preceded the formal initiation of this litigation, were conducted ‘in order to
provide the Commission with information so that it could make the determination whether to
proceed with litigation in this matter[,]’ . . . fall[] squarely within the protections of the work-
product doctrine.”); S.E.C. v. Stanard, No. 06 ClV. 7736 (GEL), 2007 WL 1834709, *2 (S.D.N.Y.
.lune 26, 2007) (interviews conducted by SEC staff were “conducted in order to determine whether
to initiate litigation” and therefore the interview notes received protection as work product); S.E.C.
v. Treadway, 229 F.R.D. 454, 455-56 (S.D.N.Y. 2005) (SEC attorney notes of pre-litigation
witness interviews during formal investigation constitute work product); S.E.C. v. Downe, No. 92
ClV. 4092 (PKL), 1994 WL 2314|, at *2 (S.D.N.Y. Jan. 27, 1994) (“‘The existence of an active
investigation, therefore, is strong circumstantial evidence that the agency lawyer prepared the
document with future ‘litigation in mind."') (quoting Sajizcard Servs., Inc. v. S.E.C., 926 F.2d
ll97, 1202(D.C. Cir. l99l)).

BED_UE¢SJ`_NQ._&: Produce any and all documents from you, FinCEN, any other
governmental agency, or any SRO, which includes any analysis of the SARs which are the subject
of this Action,

Response. ln addition to the General Objections, the Commission objects to this request

because it seeks analyses that are not relevant and fall within the law enforcement privilege which
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protects, among other things, disclosure of law enforcement techniques and procedures, safeguards
the privacy of individuals involved in an investigation. and otherwise prevents interference with an
investigation. See, e.g., ]n re Department of!nvestigation of City of New York, 856 F.2d 481, 484
(2d Cir. 1988) (“The purpose of this privilege is to prevent disclosure of law enforcement
techniques and procedures, to preserve the confidentiality of sources, to protect witness and law
enforcement personnel, to safeguard the privacy of individuals involved in an investigation, and
otherwise to prevent interference with an investigation.”). The response also seeks materials
protected by the work product doctrine and deliberative process privilege.

The only plausible relevance responsive analyses have to the pleadings is their tenuous
connection to the equitable affirmative defenses that should be stricken for the reasons set forth in
the Motion to Strike. The issue in this case-Alpine’s compliance with chapter X of title 31 of the
Code of Federal Regulations (the Bank Secrecy Act implementing regulations)_has nothing to do
with the content or existence of prior analyses of Alpine’s filings. Specifically, even if the
requested analyses were not privileged, the analyses do not make it more or less likely that
(i) Alpine omitted material information from SARs, (ii) Alpine failed to file SARs on suspicious
liquidation transaction, (iii) Alpine filed untimely SARs, or (iv) Alpine failed to maintain support
files for SARs. Prior analyses of SARs have no bearing on whether Alpine’s records complied with
the BSA.

Subject to the foregoing and General Objections, the Commission states that it will produce
all non-privileged documents received from FINRA in the Commission’s possession responsive to
this request. ln accordance with Section 24(f) of the Exchange Act [15 U.S.C. § 78x(f)], FINRA is
currently conducting a privilege review of over 2.2 million pages of responsive documents.

Without waiving any objections, the Commission also states that it will produce non-

privileged records generated during its own exam of Alpine during the relevant time period. The
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Commission will withhold privileged records generated and transmitted among Commission staff
as described in the Commission’s Privilege Log dated November 28, 2017. Records created for the
exam and used internally by the exam staff reflect advisory opinions, recommendations, and
deliberations which are part of a process through which the Commission renders decisions and
creates policies. They are protected by the deliberative process privilege and the law enforcement
privilege.

Finally, the Commission states that its staff reviews SARs filed by broker-dealers like
Alpine pursuant to the very type of techniques and procedures the law enforcement privilege is
designed to protect form disclosure. Any documents containing an analysis of a SAR filed by
Alpine are kept internal and confidential, and would also constitute work product. These
documents would be protected by the deliberative process privilege and the law enforcement
privilege. Further, as described above, any analysis of Alpine SARs pursuant to these techniques
and procedures cannot be relevant to the issue whether Alpine’s filings were deficient Under these
circumstances, it would be unduly burdensome and expensive for the Commission to search for
responsive documents only to list them in a privilege log. Before engaging in this wasteful effort
the Commission will confer with Alpine to explore whether there is a particularized need for these
materials.

BEQLLES_'LM: Produce any and all documents from you, FinCEN, any other
governmental agency, or any SRO that includes any analysis of any of the SARs that are the
subject of this Action at the time the SARs were initially jiled.

Response. The Commission repeats the objections and response to Request No. 8. ln
addition, the Commission objects to the premise of this request that an analysis of SARs “at the
time the SARs were initially filed” has any relevance to the disputes in this case, which do not turn

on an analysis at the time the SARs were filed. Alpine’s records are deficient regardless of any
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impressions drawn from the records at the time they were filed.

BE_Q_QE§'LNQ,_LQ: Produce any and all documents that reflect communications between
you and FinCEN, any other governmental agency, or any SRO regarding deficiencies in any SARs
filed by Alpine that are at issue in this Action,

Response. ln addition to the General Objections, the Commission objects to this request
because it seeks communications that are not relevant and fall within the law enforcement privilege
which protects, among other things, disclosure of law enforcement techniques and procedures,
safeguards the privacy of individuals involved in an investigation, and otherwise prevents
interference with an investigation. See, e.g., In re Department of Inves!igation of City of New York,
856 F.2d 481, 484 (2d Cir. 1988) (“The purpose of this privilege is to prevent disclosure of law
enforcement techniques and procedures, to preserve the confidentiality of sources, to protect
witness and law enforcement personnel, to safeguard the privacy of individuals involved in an
investigation, and otherwise to prevent interference with an investigation.”).

The Commission also objects to this request because it seeks irrelevant information. The
only plausible relevance these communications have to the pleadings is their tenuous connection to
the equitable affirmative defenses that should be stricken for the reasons set forth in the Motion to
Strike. The issue in this case-Alpine’s compliance with chapter X of title 31 of the Code of
Federal Regulations (the Bank Secrecy Act implementing regulations)-has nothing to do with the
content or existence of the Commission’s communications with law enforcement agencies.
Specifically, even if the communications were not privileged, the Commission’s communications
with law enforcement agencies (or anyone) do not make it more or less likely that Alpine omitted
material information from SARs, that Alpine failed to file SARs on suspicious liquidation
transaction, that Alpine filed untimely SARs, or that Alpine failed to maintain support files for

SARs, Nor would the communications lead to the discovery of admissible evidence. In short, a
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substantive analysis shared with another government agency or FINRA is protected by the law
enforcement privilege, the work product doctrine, the investigative files privilege, and Section
24(0 of the Securities Exchange Act.

Simi|arly, the SEC objects to this request to the extent that it seeks the production of non-
substantive communications between the Commission and the persons or entities listed in this
request because such information is protected by the work product doctrine, the burden of
segregating such documents from among the privileged materials would be unduly burdensome,
and the information is not sufficiently relevant to any claim or defense, and therefore is not
proportional to the needs of the case.

Subject to the foregoing and General Objections, the Commission states that it has
possession of no “communications between [the Commission] and FinCEN, any other
governmental agency, or any SRO regarding deficiencies in any SARs filed by Alpine that are at
issue in this Action.” The Commission will produce non-privileged records it received from
FINRA as described in response to Request No. 8, above,

BEQLE§_T_NQ,J_L: Produce any and all documents that reflect requests from FinCEN,
any other governmental agency, or any SRO to Alpine for follow-up or additional information with
respect to any SAR filed by Alpine.

Resp_onse. Please see response to Request No. 10, which is incorporated into this response.

W: Produce any and all documents that reflect communications from the
SEC, FinCEN, any other governmental agency, or any SRO to Alpine asserting that any of
Alpine’s SA Rs that are at issue in this Action were deficient at the time the SAR was initially filed.

gesponse. Please see response to Request No. 10, which is incorporated into this response.

RM§S_T_NQ,_!§: Produce any and all documents that reflect communications from the

SEC, FinCEN, any other governmental agency, or any SRO to Alpine asserting that any of
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Alpine’s SARs that are the subject of this Action were deficient at any point in time ajier the SAR
was initially jiled.

Response. Please see response to Request No. 10, which is incorporated into this response.

W: Produce any and all documents that relate to your allegations in
Paragraph 4 of the Complaint that Alpine’s conduct “deprived U.S. regulators of key financial
intelligence" and prevented or impeded “U.S. regulators and law enforcement” in their scrutiny of
“illicit actors.”

Resgonse. Subject to the General Objections, the Commission states that it has produced
responsive documents, specifically the documents referenced in Tables A-F. The failure to
adequately describe factors in a SAR that made the underlying transaction or activity suspicious
undermines the very purpose of the SAR and lessens its usefulness to law enforcement See
Guidance on Preparing a Complete & Suj'icient Suspicious Activity Report Narrative (Novem ber
2003) at l; see also 3| U.S.C. § 531 l (the purpose of the Bank Secrecy Act is to require reports
useful in eriminal, tax, or regulatory investigations or in the conduct of intelligence activities to
protect against international terrorism). The Commission also refers to Alpine’s customer files for
the following illustrative list of individuals and entities mentioned in the documents already
produced by the Commission and also in the possession of Alpine: Gibraltar Global Securities Inc.,
Legacy Global Markets, Ca|edonian Bank, Titan lntemational Securities, Clear Water Securities,
Phil Kueber, lra Shapiro, AGS Capital Group, Curt Kramer, Stephen Hicks, David Foley, Big
Apple Consulting, John Fife, and Raymond Kripaitis.

M§_T_EQ,_L§: Produce any and all documents that relate to your allegations in
Paragraph l of the Complaint that “rnany” of the deposits of microcap securities cleared by Alpine
since 201 l “were used as part of various stock manipulation and other schemes."

Response. See response to Request No. 14.
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BE_QHE§_I_NQ,_]§: Produce any and all documents that relate to your allegations in
Paragraph 15 of the Complaint that “[m]any Scottsdale and Alpine customers have been charged
with violations of the federal securities laws, including violations relating to transactions cleared
through Alpine,” and in Paragraph 26 of the Complaint that “[m]any of Scottsdale customers . . .
have been charged by the Commission for improper conduct relating to transactions that cleared
through Alpine,”

Response. See response to Request No. 14.

REQJJLSJ`_NQ,_L_Z: Produce any and all documents that relate to your allegations in
Paragraph 27 of the Complaint that Alpine “facilitates and enables illicit financial activity.”

Response. See response to Request No. 14.

BE_T,[E_$_'I_NQ,_L§: Produce any and all documents regarding alleged failures on the part
of Leia Farmer, Todd Groskreutz, Betsy Famier, and any other individual referenced in the
Dec|aration of L. James Lyman, filed in this action on August 25, 2017, Dkt. No. 30-1, to create or
implement a meaningful anti-money laundering (“AML”) or Bank Secrecy Act (“BSA”)
compliance program.

Resgonse. Subject to the General Objections, the Commission states that it has produced
responsive documents, specifically the documents referenced in Tables A-F.

B,EQHE§§LNQ,_L£: Produce any and all SARs filed by any broker dealer, or any financial
institution, with respect to the transactions that are the subject of the SARs at issue in the
Complaint or which are the subject of this Action.

Rgspon§§, Subject to the General Objections, the Commission states that it has produced
responsive documents, specifically the documents referenced in Tables A-F.

REQ_QE§_'LNQ,_Z_Q: Produce any and all documents from you, FinCEN, or any other

agency or SRO, which reflects any review or analysis of the SARs filed by any broker dealer, or
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any financial institution, with respect to the transactions at issue in the Complaint or which are the
subject of this Action.

Response. P|ease see response to Request No. 8.

REQUES_T_NQ,_L: Produce all documents that constitute binding or authoritative
guidance provided or available to Alpine regarding the completion of SARs.

Response. ln addition to the General Objections, the Commission objects to this request
because it seeks documents generated by third parties and that are in (or should be in) the
possession of Alpine. Binding or authoritative guidance regarding the BSA implementing
regulations are functionally legal sources like statutes or regulations This request is therefore the
akin to a contention interrogatory prohibited by Local Rule 33.3.

Subject to the foregoing and General Objections, the Commission refers to the publicly
available websites maintained by FinCEN at https://www.fincen.gov/resources, and FINRA at
httg://www.finra.org!industry/rules-and-guidance.

MS_'LN_Q,_B: Produce all documents that support or otherwise relate to the
penalties you seek in this Action, including but not limited to the methodology or means by which
you calculate or intend to calculate such penalties.

Response. ln addition to the General Objections, the Commission further objects to this
request because it seeks support for the equitable defenses that should be stricken pursuant to the
Motion to Strike and the related allegations that the pursuit of penalties authorized by Congress is
evidence of bad faith. Subject to the foregoing objections, the Commission incorporates its Rule
26(a)(1) lnitial Disclosures and documents previously produced in this action, including the
documents referenced in Tables A-F, and objects to the extent this Request seeks information
beyond that provided in the Commission’s initial Disclosures as premature.

REQHES_T_NQ,_Z§: Produce all documents that reflect any actions taken by the SEC,
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FINRA or other SRO, FinCEN, or any other governmental agency or regulatory authority with
respect to any of the SARs or other transactions that are at issue in this Action, including but not
limited to any enforcement actions filed in a federal or state court or as an administrative
proceeding

Response. In addition to the General Objections, the Commission objects to this request
because it seeks a potentially limitless amount of irrelevant material, most of which is not in the
possession of the Commission. The issue in this case-Alpine’s compliance with chapter X of title
31 of the Code of Federal Regulations (the Bank Secrecy Act implementing regulations)-has
nothing to do with enforcement actions filed against Alpine’s customers or the issuers mentioned
in Alpine’s files. Specifically, nothing about other enforcement actions make it more or less likely
that (i) Alpine omitted material information from SARs, (ii) Alpine failed to file SARs on
suspicious liquidation transaction, (iii) Alpine filed untimely SARs, or (iv) Alpine failed to
maintain support files for SARs. These are issues for the Court and jury to decide in this case, and
other enforcement actions have no bearing on these decisions

Subject to the foregoing and General Objections, the Commission refers to the publicly
available files connected to the following list of illustrative enforcement actions: SEC v. Gibral!ar
Global Securities Inc. and Warren A. Davis, Civil Action No. 13 Civ 2575 (S.D.N.¥.); SEC v.
Caledonian Bank, Ltd., Civil Action No. 15 Civ 00894 (S.D.N.Y); Uni¢ed States v. Raberr
Banayield, Cr. No. l4-CR-476 (E.D.N.Y.); SEC v. Caledonian Bank, Ltd., Civil Action No. 15 Civ
00894 (S.D.N.Y); Um'ted Slates v. Robert Bandjield, Cr. No. l4-CR-476 (E.D.N.Y.); SEC v.
Caledonian Bank, Ltd., Civil Action No. 15 Civ 00894 (S.D.N.Y); SEC v. Philip Thamas Kueber,
Civil Action No. 15-cv-4479 (E.D.N.Y.); SEC v. AbraxasJ. Discala, Civil Action No. l4-cv-4346
(E.D.N.Y.); SEC v. Southridge Capital Management LLC, Case No. 10~cv-10685 (D. Conn.);

United States v. David Russell Foley, OQ-cr-0067O CN.D. Cal.); SEC v. Big Apple Consulting USA,
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Case 1:17-cv-O4179-DLC Document 85-1 Filed 01/19/18 Page 18 of 26

Civil Action No. 09-cv-l963 (M.D. Fla.); SEC v. John Fg'/e, Civi| Action No. 07-cv-347 (`N.D. lll.);
SEC v. Raymond R. Kripar'ris, Admin. Proc. No. 3-9974; In the Matter ofGlobal Fixed lncome,
Admin. Proc. No. 3-16460); In the Matter ofCurt Kramer, Admin Proc. No. 3-15621.

BE_QHESLM: Produce all documents that you have received from any third
parties in connection with your investigation of Alpine in this matter and/or in connection with
this Action, including but not limited to all documents received from any customers of Alpine;
fenner officers, employees, or agents of Alpine; any broker dealers or financial institutions; or
any governmental agency, regulatory authority or SRO.

Response. ln addition the General Objections, the Commission objects to this request
because it seeks an overwhelming amount of documents that are either irrelevant to this action or
already in the possession of Alpine. This is a books and records action that concerns almost
exclusively Alpine’s records. Alpine has copies of these records. Records generated by the
Commission during its investigation are not relevant and protected by one or more privileges
Records generated by third parties are largely not relevant and the records that are relevant are
already in Alpine’s possession, namely correspondence from FINRA advising Alpine about its
deficient filings. These records are relevant to show their effect on Alpine-the underlying analysis
and work to prepare the correspondence are not relevant and, in any event, should be requested
directly from those third parties. in short, there are very few records that are arguably relevant to
the claims in this case that Alpine does not already have in its possession, The scope of the
Requests is not proportionate to Alpine’s genuine needs in this case.

Subject to the foregoing and General Objections, the Commission will produce records in
its possession generated by FINRA after FINRA completes a privilege review of over 2.2 million
pages ofdocuments, many of which are documents that Alpine already has in its possession, The

Commission also will produce documents it received from Scottsdale, John l~lurry, and the Cayman
l7

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Case 1:17-cv-O4179-DLC Document 85-1 Filed 01/19/18 Page 19 of 26

lslands Monetary Authority.

REQLE§_T_N_Q_;§: Produce any and all documents created, used or referenced in
connection with the preparation of the Declaration of L. James Lyman, filed in this action on
August 25, 2017, Dkt. No. 30-| .

Resgonse. In addition to the General Objections, the Commission objects to this request to
the extent it seeks witness interview notes protected by the law enforcement privilege and the
attorney work product doctrine, See Response to Request 7, above, The Commission has no non-
privileged records responsive to this request.

M§;LM: Produce all documents reflecting any grants of authority to you from
FinCEN, the United States Department of the Treasury, or other governmental authority to pursue
an enforcement action, including but not limited to seeking penalties or other remedies, for
violations of the BSA against broker dealers or other financial institutions, including but not
limited to the instant Action against Alpine.

Response. The Commission objects to the premise of this request that the Commission
needs or solicits authority from other governmental agencies to enforce Section l7(a) of the
Securities Exchange Act and Ru|e 17a-8 thereunder. Subject to the foregoing, the Commission
states that it possesses no “documents reflecting any grants of authority to you from FinCEN, the
United States Department of the Treasury, or other governmental authority to pursue an
enforcement action, including but not limited to seeking penalties or other remedies, for violations
of the BSA against broker dealers or other financial institutions, including but not limited to the
instant Action against Alpine” aside from the Securities Exchange Act and Rules promulgated
thereunder.

BEQHES_T_NQ,_LZ: Produce all documents reviewed or referenced in responding to

Alpine’s discovery requests in this case, including but not limited to, Alpine First Set of
18

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Interrogatories served on October 6, 2017.

Response. The Commission refers to documents described in these responses and
documents described in the Commission’s initial disclosures, and records in Alpine’s possession.

BEMLE_S_'[`_NQ,_B: Produce all documents discussing, describing, referring, conceming,
relating to, supporting or detracting in any way from the allegations of the Complaint.

Response. ln addition to the General Objections, the Commission objects to the phrase
“supporting or detracting in any way” as vague and impermissibly broad. Subject to the foregoing
and General Objections, the Commission refers to documents described in these responses and
documents described in the Commission’s initial disclosures, and records in Alpine’s possession,

Dated November 28, 2017

Respectfully submitted,

s/ Tgrgg R. Miller
Zachary T. Carlyle

Terry R. Miller

Attorneys for Plaintiff

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

1961 Stout Street, 17th Floor

Denver, Colorado 80294

(303) 844-1000

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Case 1:17-cv-O4179-DLC Document 85-1 Filed 01/19/18 Page 21 of 26

CERTIFICATE OF SERVICE

l hereby certify that on November 28, 2017, the foregoing has been served upon the following
counsel of record via email:

Brent R. Baker (BB 8285)

Aaron D. Lebenta (Pro Hac Vice)
.lonathan D. B|etzacker (Pro Hac Vice)
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/s/ Ter_ry R. Miller

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SECURlTIES AND EXCHANGE COMMISSION’S
PRIVILEGE LOG
November 28, 2017
SEC v. Alpine Securities Corp., et al.
Case No. l7-ev-4l79 (DLC) (SDNY)

 

 

 

Category Document Description Of Doeuments Or Authors And Recipientsl Privilege Asserted,
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present officials and personnel (or

 

 

SEC internal documents prepared in
anticipation of litigation or for u‘ial, or for
the purpose of seeking or providing legal
advice, or including pre-decisional
deliberations on actions that might be
taken with regard to this case and the
investigation that preceded it, including
memoranda, outlines, notes, drahs,
summaries, research, analyses, reports,
charts and spreadsheets, internal forms,
emails, voice-mails and other forms of
communication, compilations of
materials, presentations, notes or
memoranda of conversations, and
calendars. These documents include

 

contractors) assisting them,
including but not limited to
Zachary Caryle, Terry Miller,
Gregory Kasper, L. James
Lyman, and lan Karpel and
personnel from other SEC
Divisions or Offices,
including the Office of
Compliance, lnspections, and
Examinations (“OClE”),
Division of'l`rading and
Markets (“TM”), Division of
Economic and Risk Analysis
(“DERA”), and Office of

Intemational Affairs (“OIA”).

 

 

 

 

x lterns listed in this privilege log might also have been shared intemally with other SEC staff who are not necessarily listed here.
assertions of, among other privileges and protections, the Attomey-Client Privilege (“AC"),
protection under Ru|e 26(b)(3)(A) and (B), and the common law work product doctrine),
(“LE”), lnvestigative Files Privilege (“lF”) (of securities regulators and securities exchan

2 this index contains

Work Pmduct Protection (“WP”) (including
Deliberative Process Privilege (“DP”), l.,aw Enforcement Privilege
ges), and Common lnterest Privilege (“Common lnterest”).

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Case 1:17-cv-O4179-DLC Document 85-1 Filed 01/19/18 Page 23 of 26

 

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Document
Date(s)

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Or Other Reason For
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analyses of the SARs that are subject to
this case and notes and memoranda from
witness interviews.

The documents reflect internal
communications, opinions, mental
impressions, and gathering of information
by SEC attomeys, officials and personnel
(or contractors) assisting them in
evaluating possible violations of securities
laws and rules, and possible claims to be
tiled. The documents also reflect the
SEC’s communications with other
securities regulators, securities exchanges
and law enforcement authorities regarding
possible violations of laws and rules, and
possible claims to be filed.

The documents were
distributed only within the
SEC.

 

 

 

June 2014
through April
201 5

 

SEC Internal Examr'natr'on Document.r.

lntemal documents of SEC examination
staff within OCIE regarding examination
and surveillance practices and procedures,
including Examination planning
documents outlining exam scope and
planning procedures for the exam team,
examination control sheets summarizing
purpose of review area, documents used to
conduct the review, key procedures
performed and guidelines utilized, and

 

Authored and transmitted by
and among OCIE staft`,
including the Lead Examiner,
the Examination Manager, the
Assistant Regional Director,
and/or Regulatory Counsel

The documents were
distributed only within the
SEC,

 

DP, LE

 

 

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Date(s)

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Categories Of Documents

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Or Other Reason For
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summary of examination findings, notes
of interviews of Alpine’s staff regarding
individual SAR filings (0r non-filings),
examination workpapers analyzing
individual SAR filings (0r non-filings) by
Alpine to determine adequacy and
timeliness of filing under relevant |aw,
memorandum from examination team to
SEC enforcement referring examination
findings regarding deficient SAR filings
and analyzing relevant law, and emails
discussing exam planning, examination
findings, and relevant legal and regulatory
idance.

 

 

 

Approximately
April 25, 2015
to present

 

Communr‘calr'ons Belween the SEC and
other Securilia' Regularors

Requests for information, memoranda,
letters or other communications or work
product prepared in anticipation of
litigation or for trial, and exchanged
between the SEC and other securities
regulators or securities exchanges,
regarding trading by defendants, those
associated with the defendants, or others,
on the issue of whether such trading may
violate securities laws, or rules of the
securities regulators. These documents
also reflect inves_tigatory or surveillance

 

SEC attomeys, officials and
personnel (or contractors)
assisting them, including but
not limited to Zachary Caryle,
Terry Miller, Gregory Kasper,
L. james Lyman, and lan
Karpel.

Attomeys, officials and
personnel (0r contractors)
assisting them from the
Financial lndustry Regulatory
Authority (“FlNRA”).

 

LE, lF, WP, Common
lnterest, Section 24(f)
of the Securities
Exchange Act of 1934
(“Exchan ge Act”)

 

 

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Category Document Description Of Documents Or Authors And Recipients' Privilege Asserted,
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techniques or procedures for detecting
violations of securities laws or applicable
rules.
4 Approximately Ollrer U.S. Government Agenq) SEC attorneys, officials, and LE, WP, Common
February 24, Commum’ca!ions. personnel (or contractors) interest, Exchange Act
2015 to assisting them, including Sections 24(d) and (f)
present Requests for information, memoranda, Lincoln .l. Lyman, lan Karpel,

 

 

letters or other communications or work
product prepared in anticipation of
litigation or for trial, and exchanged
between the SEC and other United States
government agencies, including law
enforcement agencies, regarding Alpine’s
compliance with the Bank Secrecy Act
implementing regulations.

 

and Zachary Carly|e.

Attomeys, officials and
personnel (0r contractors)
assisting them from the U.S.
Attomey’s Office for the
Southem District of New
York, Federal Bureau of
lnvestigation, and U.S.
Department of

Homeland and Security.

Attomeys, officials, and
personnel (0r contractors)
assisting them from the
Financial Crimes Enforcement
Network.

 

 

 

ALPINE_LIT167461

Case 1:17-cv-O4179-DLC Document 85-1 Filed 01/19/18 Page 26 of 26

 

 

 

Category Document Description Ol' Documents Or Authors And Recipientsl Privilege Asserted,
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5 Various Tedrfying Evperis. SEC attorneys, officials and WP, FRCP
personnel (or contractors) 26(b)(4)(D), and the
Communications, drafts of reports, and assisting them, including Court’s orders dated
related documents and information Zachary Carlyle, Terry Miller, September 15, 2017
regarding experts who might be expected and Linco|n .l. Lyman, and November 2, 2017

 

 

to testify in this matter.

 

potential testifying experts and
personnel assisting them,

 

 

 

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